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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: MOVEIT CUSTOMER DATA
 SECURITY BREACH LITIGATION
 This Document Relates To:                           MDL No. 1:23-md-03083-ADB-PGL

 All Cases


      APPLICATION OF TINA WOLFSON TO BE APPOINTED LEAD COUNSEL

       I, Tina Wolfson, apply to be appointed Head Lead Plaintiffs’ Counsel, as that term is

explained in my Structure Proposal. I am best suited to deliver the efficiencies that the JPML

anticipated when ordering consolidation, while maximizing the relief for the class.

       I have 25 years of data privacy class action experience, including in data breach cases. In

the late 1990’s, when I co-founded Ahdoot & Wolfson, we prosecuted major financial institutions

for unlawfully compiling and selling detailed financial data of millions of consumers to third party

telemarketers, exposing corporate practices that later became the subject of Gramm-Leach-Bliley

Act regulation. We continue to bring trail-blazing privacy-related class actions and have won

numerous issues of first impression at the trial and appellate levels. For example, in Remijas v.

Neiman Marcus Grp., LLC, 794 F.3d 688 (7th Cir. 2015) our firm single-handedly won the

seminal appellate opinion on Article III standing based on imminent future harm.

       I have litigated countless data breach cases and have a deep understanding of the many

substantive issues that arise in these types of cases. I elaborate on just one example, the

Premera data breach MDL. My firm vetted all plaintiffs for inclusion in the consolidated

complaint, drafted the complaint, and successfully briefed and argued the Motion to Dismiss, in

part, which included many of the threshold issues implicated in this MDL. We conducted

numerous meet and confers and helped bring many motions to compel, which involved highly


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technical factual issues and evidentiary privilege issues, such as those likely to arise here. We

prepared, conducted, and defended a third of the more than 50 depositions, including information

security officers and technical and damages experts. I worked with forensic consultants and

experts to develop the class damage models. We briefed and argued a class certification motion.

       While battling on the litigation front, I led the charge on continuing the settlement dialogue

with a defendant seemingly unwilling to entertain resolution short of nuisance value. I ultimately

got Premera to the negotiation table along with its several tiers of carriers and spear-headed the

almost year-long negotiation process, which included five in-person sessions and additional

endless hours of shuttle negotiations with two mediators simultaneously, one of whom was an

insurance coverage expert, ultimately reaching a settlement valued at $74 million, the largest MDL

data breach settlement per capita to date. I was integrally involved in every detail of structuring

and memorializing the settlement and invested numerous uncompensated hours to ensure a high

participation rate from class members after notice dissemination. The unprecedented claims rate

ultimately exceeded 9%, while data breaches typically see 1-3% claims rates. My experience

leading additional numerous data breach cases (see Appendix B for a few examples) will maximize

class relief and efficiency in this MDL.

       I have co-counseled amicably, efficiently, and successfully with every firm or attorney who

I anticipate will apply to be appointed lead counsel and will do so here should the Court appoint

me. I develop amicable professional relationships with defense counsel as well, as demonstrated

by mutual invitations to lecture at CLE conferences and other events. The same leadership skills

that enabled the success of my 15-employee firm have enabled my success in MDLs: a balance of

experienced decisiveness and an open mind that is willing to listen and learn; deliberate multi-

tasking and time management; respectful candor; personal responsibility and accountability; and




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mentoring future class action leaders. I have already demonstrated my ability to lead in this case

when different plaintiff factions asserted disparate viewpoints as to the timing of leadership

applications before the filing of the CMC statement. I suggested language for the CMC that

accommodated both viewpoints and convinced some counsel to avoid separate filings.

       I fully understand the financial and human resources this case will require and would not

seek a leadership position if I could not deliver. AW has never used third-party funding for any

matter, has never failed to pay assessments in any case, and is well-funded and well-staffed to

litigate this matter to successful results. I maintain a second residence in New York, should I need

to be closer to the Court for extended periods of time.

       If appointed, I will be personally accountable to serve the class and the Court to the best of

my ability and the Court should expect that I will be thoroughly prepared on every issue and that

I will listen more than I speak. I will implement the invaluable insights into the challenges facing

our federal judiciary that I have gained through my work as a Ninth Circuit Lawyer Representative

for the Central District of California, an at large member of the Ninth Circuit Conference Executive

Committee, and a member of the Merit Selection Panel for the U.S. District Court, Central District

of California to minimize the burden on the Court.

       For further insight into my character, I share a bit of my personal story. I was born in the

former Soviet Union and my parents heroically escaped the totalitarianism and rampant

antisemitism of that regime when I was 11 years old. Seven years after we arrived in the United

States as indigent refugees who spoke no English, I attended Columbia College, and then Harvard

Law School, graduating both cum laude. I chose the legal profession to protect the cherished

individual freedoms and the rule of law we enjoy as Americans and I bring the aspirational spirit

and strong work ethic to my professional commitments.




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                                         Respectfully submitted,

Dated: December 15, 2023                 /s/ Tina Wolfson
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 15, 2023, a true and correct copy of the

above and foregoing was filed with the Clerk of Court via the Court’s CM/ECF system for

electronic service on all counsel of record.

                                                           /s/ Tina Wolfson
                                                           Tina Wolfson




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